Case 2:04-cr-20242-.]DB Document 50 Filed 04/26/05 Page 1 of 2 Page|D 63

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Fon THE wEsTEeN olsTFncT oF TENNEs§hEE,_ '._
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uNlTED sTA'rEs oi= AMEech, -§;ff'tr"§.!"§£i:"?t?il IYJi‘r_-vttttt-'>`
P\aintirr,
vs.
ca No. 04-20242-|3
cuaTls BYRD,
Defendant.

 

OFlDEFl ON CONT|NUANCE AND SPEC|FYING PEFl|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 25, 2005. At that time, counsel for the
defendant requested a continuance of the |Vlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a mg
date of Thursdav. June 23. 2005. at 2:00 D.m., in Courtroom 1, ttth Floor of the
Federa| Building, |V|emphis, TN.

The period from |\/lay13, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(i\/) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

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J. A lEi_ BaElEN \
u D sTATEs DisTFllcT JUDG.E

 

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This notice confirms a copy of the document docketed as number 50 in
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Honorable J. Breen
US DISTRICT COURT

